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 TRACY L. WILKISON
 Acting United States Attorney
 By: AUSA Solomon Kim (213-894-2450)
 1200 United States Courthouse
 312 N. Spring Street
 Los Angeles, CA 90012


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                 CASE NUMBER
                                     PLAINTIFF,
                                                                      21-MJ-03769-DUTY
                            v.
 HECTOR MERCED PARRA,
                                                                  ORDER FOR DISMISSAL
                                     DEFENDANT.                OF MAGISTRATE’S COMPLAINT


        A Magistrate’s Complaint having been filed before the United States Magistrate Judge

Jacqueline Choolijan in Los Angeles, California, against the above-named defendant, charging a

violation of Title 21, United States Code, Section 841(a)(1), and the Acting United States Attorney

having moved for a dismissal of the complaint,

        IT IS HEREBY ORDERED that said Complaint be dismissed as to defendant HECTOR

MERCED PARRA only without prejudice and that defendant be released if in custody solely on this

charge, or if not, that bond, if any, be exonerated on this charge.


Date:
                                                      United States Magistrate Judge

Presented by:

  /s/
SOLOMON KIM
Assistant United States Attorney

Complaint Filed: August 13, 2021

                                                      Is the person in custody?
                                                              YES
                                                                      NO
